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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON              MDL No. 16-2738 (MAS) (RLS)
    TALCUM POWDER PRODUCTS
        MARKETING, SALES
     PRACTICES, AND PRODUCTS
       LIABILITY LITIGATION


        THIS DOCUMENT RELATES TO ALL CASES

       PLAINTIFFS’ STEERING COMMITTEE’S OPPOSITION TO
    DEFENDANTS’ OBJECTIONS TO THE SPECIAL MASTER’S ORDER
   DENYING DEFENDANTS’ MOTION TO COMPEL AN INSPECTION OF
              DR. WILLIAM LONGO’S LABORATORY
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        Plaintiffs, by and through the Plaintiffs’ Steering Committee (“PSC”), submit

  this Memorandum of Law in opposition to Defendants’ Objections to the Special

  Master’s Order Denying Defendants’ Motion to Compel an Inspection of Dr.

  William Longo’s Laboratory.

                                   INTRODUCTION

        The Special Master properly rejected Defendants’ “unprecedented” attempt to

  force Plaintiffs’ material science expert Dr. William Longo “to recreate or replicate”

  his expert testing while they “participate[] in and observe[] the re-creation.”1 He

  found that the request not only lacked any legal basis, but it also sought “irrelevant

  information, is unduly annoying, oppressive, and burdensome, and is

  disproportionate to the needs of the case.”2 Despite this thorough repudiation of their

  attempt to intimidate Dr. Longo, Defendants come to the Court seeking the same

  relief and rehashing the same arguments that failed before the Special Master. They

  fare no better the second time around, and the Court should reject them.

        As an initial matter, Federal Rule of Civil Procedure 34(a)(2) does not apply

  to experts. And it certainly does not permit Defendants to compel Dr. Longo to

  perform work while their own experts watch. Moreover, even if the Court entertains



  1
    Special Master Order No. 24 (Deciding Defendants’ Motion to Compel Inspection
  of Dr. William Longo’s Laboratory, Dkt. No. 32227) at 4, ECF No. 32826 (“Special
  Master Order No. 24”).
  2
    Id.
                                            1
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  Defendants’ procedurally infirm request under Rule 34, it should deny their

  unreasonable plea for an “inspection” that exceeds the scope of discovery under Rule

  26(b). Finally, the Court should reject Defendants’ attempt to distract it from the

  instant discovery dispute by inserting irrelevant Daubert arguments and references

  to Dr. Longo’s prior methodology that are, to use Defendants’ words, “of no moment

  to this motion.”3 Simply put, the Defendants’ objections to the Special Master’s

  Order denying their motion to compel the inspection of Dr. Longo’s laboratory lack

  merit, and the Court should overrule them.

                                  BACKGROUND

        Dr. Longo used a testing methodology called polarized light microscopy

  (“PLM”), which he has described at length in his expert report and prior testimony,4

  to determine that Johnson & Johnson’s (“J&J”) baby powder contains asbestos.5 In

  the simplest terms, the PLM method requires Dr. Longo and his colleagues to

  prepare a microscope slide with a sample of J&J baby powder and then coat that



  3
    Defs.’ Objs. at 7, ECF No. 32872-1.
  4
    Special Master Order No. 24 at 1; Fourth Suppl. MDL Report at 3-8, 11-14, Ex. A.
  5
    Defendants criticize Dr. Longo for changing his methodology over time. Defs.’
  Objs. at 24-25. Such changes, however, should come as no surprise. The quest for
  scientific knowledge does not and should not lie static. Consistent with that
  principle, Dr. Longo has refined his PLM methodology over the years to arrive at
  his current testing process. Longo Dep., May 2, 2024, 47:6-13, Ex. B. Regardless,
  Defendants concede that Dr. Longo’s use of “a different methodology in the past is
  of no moment to this motion,” making their emphasis of this point even more
  befuddling. Defs.’ Objs. at 7, ECF No. 32872-1.
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  powder with a specific oil. The oil causes the minerals in the powder to appear as

  different colors under a polarized light microscope. An analyst at Dr. Longo’s lab

  records the findings by indicating where the color of a particular mineral falls on a

  spectrum called a refractive index. Images of the particles as seen under the

  microscope are captured as photomicrographs that allowed Defendants and their

  litigation consultants to evaluate his methodology and results.

        When Dr. Longo applied this PLM methodology to the 43 samples described

  in his 4th supplemental expert report, he determined that 93% of samples of J&J

  baby power contained asbestos. Unsurprisingly, Defendants and their litigation

  consultants dispute Dr. Longo’s findings. Where Dr. Longo sees purple, they see

  yellow. See, e.g., Defs.’ Objs. at 26. Defendants have cross-examined Dr. Longo at

  length regarding these findings. Id. at 28; Special Master Order No. 24 at 8.

  Defendants have deposed Dr. Longo’s colleague, PLM analyst Paul Hess. Moreover,

  Defendants’ litigation consultants have issued “comprehensive” reports that

  “evaluat[ed] and critiqu[ed]” Dr. Longo, his methodology, and his findings. Special

  Master Order No. 24 at 7.

        As the Special Master recognized, Defendants and their litigation consultants

  already have everything they need to evaluate Dr. Longo’s PLM methodology and

  results. Special Master Order No. 24 at 7-8. Indeed, Defendants admit that Dr. Longo

  provided such high-quality photomicrographs that “everyone with their own two

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  eyes can see” the particles’ true colors without a microscope. Defs.’ Objs. at 29.

  Nevertheless, they requested an inspection, pursuant to Federal Rule of Civil

  Procedure 34(a)(2), of Dr. Longo’s laboratory, Material Analytical Services, LLC

  (“MAS”), and his PLM microscopes. Special Master Order No. 24 at 2-3.

  Defendants also requested that their experts observe—in real time—Dr. Longo’s

  methodology for and performance of preparing and analyzing baby powder samples

  using his PLM method. Id.

        This “unprecedented” request has no basis in the Federal Rules of Civil

  Procedure. Id. at 4 (observing that “[n]othing in the plain language of” Rule 34

  authorized Defendants’ “unprecedented” request to require Dr. Longo “to recreate

  or replicate a test while [Defendants’] expert participates in and observes the

  recreation”). Indeed, Defendants did not cite any “relevant case law supporting their

  argument.” Id. at 5 (“Unlike defendants, plaintiffs cite relevant case law supporting

  their argument.”). Accordingly, the Special Master denied Defendants’ motion to

  compel the inspection. Id. at 9.

        In arriving at this decision, the Special Master noted that Defendants’

  “irrelevant and unnecessary” request would “create undue annoyance, oppression,

  and burden for plaintiffs, as well as MAS and Longo.” Id. at 6. Not only would the

  inspection “be time consuming, intrusive, and disruptive,” but it would also cause

  “delays and distractions.” Id. at 6-7.

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      In addition, the Special Master found the request “disproportional to the needs

of the case.” Id. at 7. He rejected Defendants’ unfounded argument that they needed

the inspection, observing that “[i]f this were the case, defendants’ experts would not

have been able to serve their comprehensive expert reports evaluating and critiquing

Longo’s conclusions.” Id. He found it particularly significant that Defendants’

litigation experts could “review[] photomicrographs and conclude[] that Longo’s

identification of chrysotile [asbestos] was incorrect and unreliable” without any

mention of “needing an inspection to evaluate Longo’s work.” Id. In short, “[i]f an

inspection of Longo’s lab was critical or necessary to defendants’ defense, the

experts would not have been able to reach their conclusions.” Id.

      Finally, he rejected Defendants’ arguments about “the admissibility of

Longo’s testimony” as “not appropriate at this juncture.” Special Master Order No.

24 at 8.

      Although the Special Master rejected Defendants’ overreaching and baseless

request for an unprecedented and unnecessary inspection of Dr. Longo and his

laboratory, Defendants have filed these objections to Special Master Order No. 24,

reprising the same arguments that failed with the Special Master. The Court,

therefore, should overrule Defendants’ objections.




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                               LEGAL STANDARD

      Rule 34(a)(2) allows one party to serve a request on another party to “permit

entry onto designated land or other property possessed or controlled by the

responding party, so that the requesting party may inspect, measure, survey,

photograph, test, or sample the property or any designated object or operation on it.”

(emphasis added) Accordingly, “[b]y its terms, Rule 34[(a)] only applies to

inspections of a party’s property.” McConnell v. Canadian Pac. Realty Co., 280

F.R.D. 188, 196 (M.D. Pa. 2011) (emphasis added) (citing Fed. R. Civ. P. 34(a)). In

other words, “expert discovery,” like the discovery Defendants seek here, “does not

fall under Fed. R. Civ. P. 34(a)(2).” Ark. Game & Fish Comm’n v. United States, 74

Fed. Cl. 426, 430 n.2 (Fed. Cl. 2006).

      Rule 34(a) inspections must also fall “within the scope of Rule 26(b),” Fed.

R. Civ. P. 34(a), meaning that the inspection must seek information “that is relevant

to any party’s claim or defense and proportional to the needs of the case.” Fed. R.

Civ. P. 26(b)(1). Courts do not apply the “general relevancy standard” when

evaluating an inspection request because “‘entry upon a party’s premises may entail

greater burdens and risks than mere production of documents.’” Nat’l Mfg. Co. v.

Janeed Enters., Inc., No. 13-314, 2013 WL 12470870, at *1 (D.N.J. July 3, 2013)

(quoting Belcher v. Basset Furniture Indus., 588 F.2d 904, 908 (4th Cir. 1978)).

Instead, they must undertake “‘a greater inquiry into the necessity for [the]

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inspection’” and “balance the need for inspection against the ‘burdens and dangers

created by the inspection,’ . . . using ‘reasonableness as a guidepost.’” Id. at *1-2

(first quoting Belcher, 588 F.2d at 908; then quoting McConnell, 280 F.R.D. at 191).

      The Court reviews the Special Master’s factual findings and legal conclusions

de novo and his rulings on procedural matters for an abuse of discretion. Order

Regarding Special Master’s Duties & Authority at 3, ECF No. 704; Fed. R. Civ. P.

53(f)(3)-(5).

                                  ARGUMENT

      Defendants’ attempt to reverse the Special Master’s sound rejection of their

Rule 34(a)(2) inspection request fails on all accounts. Nothing in the Federal Rules

of Civil Procedure or the caselaw interpreting them permit the unprecedented,

harassing inspection that Defendants seek. Defendants’ untimely destructive testing

argument does not change this stubborn fact. Moreover, their unreasonable

“inspection” request exceeds the scope of discovery under Rule 26(b). Finally,

Defendants’ inappropriate Daubert arguments and irrelevant references to Dr.

Longo’s prior methodology have no bearing on this motion. The Court, therefore,

should overrule Defendants’ objections.




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   I.      Defendants Cannot Force Dr. Longo to Perform Expert Work in the
           Presence of their Litigation Experts.

        A. Defendant’s Inspection Request Violates Rule 34’s Plain Language
           and the Attorney Work Product Rule.
        Rule 34(a)(2) permits a party to request “entry onto designated land or other

property possessed or controlled by the responding party, so that the requesting party

may inspect, measure, survey, photograph, test, or sample the property or any

designated object or operation on it.” (emphasis added). Defendants’ motion violates

the plain meaning of this rule in two ways.

        First, Rule 34(a)(2) only permits entry onto “land or other property possessed

or controlled by the responding party,” i.e., Plaintiffs. (emphasis added). See also

McConnell, 280 F.R.D. at 196 (“By its terms, Rule 34[(a)] only applies to inspections

of a party’s property. (citing Fed. R. Civ. P. 34(a))). It does not permit entry onto

property possessed or controlled by an expert, i.e., Dr. Longo or MAS. Ark. Game

& Fish Comm’n, 74 Fed. Cl. at 430 n.2 (noting that “expert discovery does not fall

under Fed. R. Civ. P. 34(a)(2)”).

        Second, a Rule 34(a)(2) inspection, when allowed, simply gives permission

for “the requesting party,” i.e., Defendants, to inspect or test the property at issue.

(emphasis added). It does not permit a requesting party to force the responding party

or its expert to conduct testing or operations for the requesting party to observe. In

other words, Rule 34 forbids Defendants from forcing Dr. Longo, the responding


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party’s expert, to engage in testing that he would not otherwise conduct. Special

Master Order No. 24 at 4 (“Nothing in the plain language of . . . Rule [34(a)(2)]

authorizes a party to require an opposing expert to recreate or replicate a test while

the proponent’s expert participates in and observes the re-creation.”).

      Consistent with this plain language, courts have held that parties cannot use

Rule 34 to compel the observation of another party’s experts’ work. For example, in

Teer v. Law Engineering & Environmental Services, Inc., the court denied the

defendant’s motion to compel where it sought, “under authority of Rule 34, to

observe Plaintiffs’ experts as they conduct tests and take steps to reduce or eliminate

. . . alleged chemical contamination on the subject property.” 176 F.R.D. 206, 207

(E.D.N.C. 1997). In arriving at this decision, the court observed that the plain

language of Rule 34(a)(2) “does not . . . authorize Defendant’s experts to observe

Plaintiffs’ experts as they do their work to assess the contamination or take steps to

correct it.” Id. It also noted that, like here, “Defendants have not cited one case from

any court that has ever permitted” a requesting party to observe testing done by the

other party’s expert. Id.

      Defendants here make an even more inappropriate request than the defendant

in Teer. There, the plaintiffs’ experts planned to do the testing the defendant wanted

to observe regardless of whether the court permitted the inspection. Here,




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Defendants want Dr. Longo and MAS employees to reperform work they already

completed.

      Defendants’ inspection request also infringes on the attorney work product

rule. For example, in Mancuso v. D.R.D Towing Co., the court permitted the

plaintiff’s attorney and expert to inspect a vessel owned and operated by the

defendants but forbid the defendants from following and observing them during the

inspection because permitting the defendant to “shadow” the plaintiff’s attorney and

expert “could infringe on the attorney work product rule.” No. 05-2441, 2006 WL

889383, at *1, 3 (E.D. La. Mar. 10, 2006). The Mancuso court also observed, like

the Teer court and the Special Master, that the defendants sought legally

“unsupported” oversight of the plaintiff’s expert without citing “to any case

allowing” such an onerous request. Id. at *2-3.

      Notably, the court rejected the Mancuso defendants’ request to watch the

plaintiff’s expert work even though the plaintiff asked to inspect the defendants’

property. Id. at *1. Defendants’ request here goes much further—they want front

row seats to watch Plaintiffs’ expert and analysts conduct work that they do not

otherwise plan to do on property controlled not by Defendants, but by a third party.

      “The unprecedented nature of defendants’ request is evidenced by the fact that

they cite no controlling case law authorizing their request.” Special Master Order

No. 24 at 4. In this appeal, Defendants again rely on Insituform Technologies, Inc. v.

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Amerik Supplies, Inc., No. 1:08cv333, 2010 WL 11493292 (N.D. Ga. Feb. 19, 2020)

and United States v. Harpham, No. 2:11cr42, 2015 WL 4623717 (E.D. Wash. Aug.

3, 2015), even though the Special Master aptly rejected them as “inapposite.” Special

Master Order No. 24 at 4.

      In Insituform, the court allowed a party, Insituform, to “re-inspect Cosmic’s

[another party] facility” as a sanction because of Cosmic’s misrepresentation that

certain parts of the facility were not relevant to the case prevented Insituform from

conducting a full inspection as the court had ordered. 2010 WL 11493292, at *7, 22.

As part of that sanctions order, the court had Cosmic attend the inspection at its

facility to demonstrate a manufacturing process relevant to the case. Id. at *22.

Importantly, and presumably in effort to ward off default judgment, Cosmic

“offer[ed] to allow Insituform to re-inspect the facility.” Id. at *22.

      Unlike Cosmic, neither Plaintiffs nor Dr. Longo have engaged in any

sanctionable conduct or offered to submit to the burdensome inspection Defendants

seek. The Defendants also do not seek to inspect a party’s property—let alone their

own property—but rather an expert’s laboratory. Accordingly, “Defendants’ reliance

on” Insituform “is off base.” Special Master Order No. 24 at 4.

      Harpham “is likewise not helpful” to Defendants. Id. There, the court denied

a criminal defendant’s motion to vacate, set aside, or correct his sentence. 2015 WL

4623717, at *5. While discussing whether the court properly denied the defendant’s

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continuance request during the underlying criminal proceeding, the court noted that

it had previously ordered the government to redo certain tests in the defense expert’s

presence. Id. at *3. But that order did not discuss the Federal Rules of Civil

Procedure. Order on September 2, 2011 Hr’g, United States v. Harpham, No.

2:11cr42 (E.D. Wash. Sept. 2, 2011), ECF No. 197, Ex. C. This makes sense. Those

rules did not apply in Harpham’s criminal case. Plus, Harpham had greater rights as

a criminal defendant than Defendants have here. Potashnick v. Port City Constr. Co.,

609 F.2d 1101, 1118 (5th Cir. 1980) (“A criminal defendant faced with a potential

loss of his personal liberty has much more at stake than a civil litigant asserting or

contesting a claim for damages, and for this reason the law affords greater protection

to the criminal defendant’s rights.”).

      Another of Defendants’ cases, Diepenhorst v. City of Battle Creek,

No. 1:05cv734, 2006 WL 1851243 (W.D. Mich. June 30, 2006), supports Plaintiffs’

position. There, the court denied the plaintiff’s request to have her expert attend the

defense expert’s forensic examination of documents that she agreed to produce to

the defendant for testing. No. 1:05cv734, 2006 WL 1851243, at *1 (W.D. Mich. June

30, 2006). It found “plaintiff’s proposed conditions to be unreasonable,” holding that

“[i]n general, each party should be free to engage in its own trial preparation

unhampered by the intrusive supervision of the opposing party.” Id. Defendants here

make a similarly unreasonable request.

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      Rattay v. Medtronic, Inc. also does not support the extraordinary relief

Defendants seek. No. 5:05cv177, 2007 WL 1417158 (N.D.W. Va. May 10, 2007). In

that case, the court permitted the defense expert to attend testing that the plaintiffs

requested because the “devices to be tested are the actual devices that had been

implanted in and later removed from” the plaintiff, which “necessitate[d] additional

care and safeguards.” Id. at *3. Importantly, the court did not lay down a general rule

in Rattay, instead cabining its ruling to “the circumstances of this case.” Id.

      Those circumstances do not exist here. First, unlike the plaintiffs in Rattay,

Plaintiffs did not request to perform the testing that Defendants attempt to require

Dr. Longo to do. In fact, Plaintiffs have actively resisted it. Second, the proposed

tests do not involve unique and sensitive medical devices implanted into a plaintiff,

but rather abundant baby powder samples that do not require “additional care and

safeguards” around their handling.

      Finally, the “destructive testing” cases that Defendants cite do not change the

analysis above for the reasons set forth in Section I.B.

      Defendants’ inspection request far exceeds the permissible scope of a Rule 34

inspection, violates the work product rule, and runs afoul of squarely on point

caselaw. The Court, therefore, should reject it as did the Special Master.




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      B. Defendants’ Untimely Destructive Testing Argument Lacks Merit.

      Defendants’ attempt to avoid the limitations on Rule 34 inspections by

recasting Dr. Longo’s PLM methodology as “destructive testing” suffers from

procedural, factual, and legal infirmities, and the Court should reject it. Procedurally,

Defendants waived the argument because they did not raise it until filing their reply

brief with the Special Master. Factually, Dr. Longo “did not do destructive testing.”

Special Master Order No. 24 at 4. And, legally, the distinguishable cases Defendants

cite do not entitle them to the extraordinary relief they seek.

      1. Defendants Waived Their Destructive Testing Argument by Raising
         It for the First Time in Their Reply Brief.

      “A party cannot raise issues for the first time in a reply brief.” Stern v.

Halligan, 158 F.3d 729, 731 n.3 (3d Cir. 1998); see also Ballas v. Tedesco, 41 F.

Supp. 2d 531, 533 n.2 (D.N.J. 1999) (“A moving party may not raise new issues and

present new factual materials in a reply brief that it should have raised in its initial

brief.”). “Thus, courts ordinarily decline to consider arguments raised for the first

time in a reply brief, on the grounds that consideration of the same would prejudice

the non-moving party.” In re BlackRock Mut. Funds Advisory Fee Litig., 327 F.

Supp. 3d 690, 736 n.42 (D.N.J. 2018).

      Here, Defendants raised their destructive testing argument for the first time in

their reply brief even though nothing prevented them from doing so in their initial

motion. This violates well-established Third Circuit precedent and prejudiced the

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Plaintiffs by depriving them of the opportunity to respond in writing to this argument

before the Special Master.

       Nevertheless, the Special Master’s finding that Dr. Longo “did not do

destructive testing” was correct. Special Master Order No. 24 at 4. Yet, Defendants

now attempt to discredit the Special Master’s analysis by calling that conclusion

“simply not true” and supporting its argument with a case that it cited for the first

time in its reply brief. Defs.’ Objs. at 31 & n.4 (citing Ostrander v. Cone Mills, Inc.,

119 F.R.D. 417 (D. Minn. 1988)). This attempt to manufacture a deficiency with the

Special Master’s Order for use in its objections to the same is improper and continues

to prejudice Plaintiffs. Accordingly, the Court should not consider Defendants’

destructive testing argument.

      2. Dr. Longo Did Not Conduct Destructive Testing.

      Defendants’ destructive testing argument also fails on the merits because, as

the Special Master noted, Dr. Longo “did not do destructive testing.” Special Master

Order No. 24 at 4. Defendants disparage this factual finding as “objectively

incorrect” because the small sample of “particles Dr. Longo looked at were

destroyed when the microscope slides degraded and were discarded.” Defs.’ Objs. at

8. But, in reality, they advance the objectively incorrect understanding of

“destructive testing” by claiming that “[i]t is not relevant that other talc particles

from the same container may exist.” Id.


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      The court’s analysis in Kreps v. Dependable Sanitation, Inc., illustrates the

point. Nos. 4:21cv4108, 4:21cv4118, 2022 WL 4094124 (D.S.D. Sept. 7, 2022).

There, the defendants wanted to conduct blood testing of two individuals involved

in a car accident. Id. at *1. Initially, the defendants cast their motion as one for

“‘destructive testing’” because the amount of blood remaining after their test “would

be insufficient to allow plaintiffs to do ‘rebuttal’ testing.” Id. at *2. But the

defendants subsequently learned “that there [were] sufficient blood samples

remaining . . . to allow both parties to conduct their own independent testing of the

two men’s blood samples.” Id. In other words, even though “the process of testing

[would] result in destruction of that portion of the blood used for the test, it [would]

not result in destruction of the entirety of the blood sample available.” Id.

Accordingly, the court “construe[d] defendants’ motion to be for ‘testing’ of the two

blood samples rather than ‘destructive’ testing.” Id.

      The same result should obtain here. As in Kreps, “there are sufficient [baby

powder] samples remaining [from the same bottles Dr. Longo tested] . . . to allow

both parties to conduct their own independent testing of the [baby powder] samples.”

Id. (emphasis added).6 Even though “the process of testing . . . result[s] in destruction


6
  For this reason, Kreps and this case differ from Graff v. Baja Marine Corp. because
there “the untested portion of [the most critical evidence in the case] was not an
optimum specimen for testing[.]” 310 F. App’x 298, 302 (11th Cir. 2009) (emphasis
added). In any event, in Graff, the court reviewed the propriety of spoliation
sanctions, not an inspection request pursuant to Rule 34. Id. at 301-02.
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of that portion of the [baby powder] used for the test, it [does] not result in

destruction of the entirety of the [baby powder] sample available.” Id.7 Accordingly,

when using his PLM method, Dr. Longo performed mere “testing” and not

“destructive testing” as Defendants erroneously claim. As such, their reliance on

destructive testing cases “is neither controlling nor persuasive.” Special Master

Order No. 24 at 4.

      3. Even if the Court Finds that Dr. Longo Performed Destructive
         Testing, It Should Not Authorize Defendants’ Requested Inspection.
      Even if the Court construed Dr. Longo’s testing as destructive testing, it should

not permit Defendants’ requested inspection. Again, Kreps is instructive. Although

the court there “construe[d] defendants’ motion to be for ‘testing’ . . . rather than

‘destructive’ testing” as explained above, it conducted an alternative analysis “under




       Similarly, in Ostrander, the proposed testing would completely consume the
only remaining “unwashed” fabric swatches, leaving only other types of material
available as evidence after the testing. 119 F.R.D. at 419. Conversely, Dr. Longo’s
testing here did not completely consume any category of evidence.
       Finally, in Coleman v. Anco Insulations, Inc., the court, when evaluating an
unopposed motion, assumed, but did not analyze, whether the movant sought
“testing” or “destructive testing.” No. 15-821, 2017 WL 1735038, at *1-3 (M.D. La.
Apr. 26, 2017). Accordingly, it does not provide guidance for answering the
threshold question of whether Dr. Longo even conducted destructive testing.
7
  Moreover, Defendants manufactured the Johnson’s Baby Powder and Shower to
Shower products Dr. Longo tested, and Defendants have retained product samples
produced from the same mines and manufactured during the same time periods,
which are available to test. See Agreed Order and Stipulation Regarding the Johnson
& Johnson Defendants’ Production of Talcum Powder Samples, ECF No. 4032 (Jan.
31, 2018).
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the destructive testing rubric” to address arguments “discussed by the parties in their

briefs.” Kreps, 2022 WL 4094124, at *2-3. It ultimately concluded that the

defendants could conduct the requested testing, even under the destructive testing

framework, subject to certain conditions which did not include observation of the

testing by the other party. Id. at *5, 7. Instead, it merely required the party performing

the testing to “notify the other parties in th[e] case of the time, place, manner,

conditions, and scope of the testing[,] . . . the identity of the lab or persons who . . .

conduct[ed] the test[, and] . . . the results of the testing.” Id. at *7.

       Here, Plaintiffs have already provided Defendants with the information

demanded by Kreps. And they have done so in painstaking detail and across days of

deposition testimony. Given these ample disclosures, nothing prevents Defendants

and their experts from examining aliquots from the same bottles of baby powder that

Dr. Longo tested, replicating his methodology, and coming to their own conclusions

regarding the presence of asbestos. On the flip side, nothing entitles them to a

command performance by Dr. Longo where they observe him analyzing samples that

they can readily test themselves.

       Indeed, in every case Defendants cite the party seeking to have destructive

testing conducted proposed to do the testing themselves. Trice v. Toyota Motor

Corp., No. 0:10cv2804, 2012 WL 12894708, at *1-2 (D. Minn. Sept. 12, 2012)

(permitting plaintiff’s expert to perform destructive testing that plaintiff wanted);

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Sero v. Tricam Indus., Inc., No. 22-2801, 2023 WL 6318013, at *3, 7 (D.N.J. Sept.

28, 2023) (same); Holmes v. J.M. Prods., Inc., No. 03-2190, 2005 WL 927172, at *1

(W.D. Tenn. Jan. 7, 2005) (permitting defense expert to conduct testing that

defendant requested); Spell v. Kendall-Futuro Co., 155 F.R.D. 587, 587-88 (E.D.

Tex. 1994) (same); Ostrander, 119 F.R.D. at 418-19 (same); Coleman, 2017 WL

1735038, at *3 (same); Pizza Hut, Inc. v. Midwest Mech., Inc., No. 86C5487, 1988

WL 8980, at *1 (N.D. Ill. Feb. 1, 1988) (allowing defendant to perform testing that

it requested but ordering the parties to “agree upon an expert to conduct the test”).

They did not attempt to require the opposing party’s expert to perform the testing for

them as Defendants do here.

      Likewise, in every case Defendants cite, the party seeking testing asked to

inspect or test an item either in their possession or the possession of the other party.

Trice, 2012 WL 12894708, at *1-2 (plaintiff seeking testing of car driven by

plaintiff); Sero, 2023 WL 6318013, *1 (plaintiff seeking testing of ladder he

purchased); Holmes, 2005 WL 927172, at *1-2 (defendant seeking testing of aerosol

can belonging to the plaintiff); Spell, 155 F.R.D. at 587-88 (defendant seeking testing

of plaintiff’s cane); Ostrander, 119 F.R.D. at 421 (defendant seeking testing of fabric

in plaintiffs’ possession); Coleman, 2017 WL 1735038, at *1 (defendant seeking

testing of deceased plaintiff’s “tissue”); Pizza Hut, 1988 WL 8980 (defendant




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seeking testing of refrigeration timer in plaintiff’s possession). On the other hand,

Defendants ask to inspect the property and work process of an opposing expert.

         Defendants’ cases differ from the situation here in other respects, too. For

instance, in Coleman, the court did not permit the non-testing party to attend the

testing. 2017 WL 1735038, at *2-3. And in Sero, the party who wanted to perform

the testing offered to have the other party “attend or participate” in the testing. 2023

WL 6318013, at *7. Plaintiffs extended no such offer here.

   II.      The Unreasonable, Unduly Burdensome Inspection Defendants Seek
            Exceeds the Permissible Scope of Discovery.

         Even if Rule 34 permitted Defendants’ expert to observe Dr. Longo or MAS

employees performing PLM analyses, the Court should overrule Defendants’

objections to the Special Master’s Order because Defendants seek a patently

unreasonable inspection that is particularly disproportionate to this case’s needs.

Moreover, although Defendants do not need this inspection, it would significantly

burden Dr. Longo and MAS, rendering it unreasonable. Nat’l Mfg., 2013 WL

12470870, at *1; Belcher, 588 F.2d at 908. In sum, the requested inspection exceeds

the permissible scope of discovery under Rule 26(b). See Fed. R. Civ. P. 34(a) (Rule

34 inspections must fall “within the scope of Rule 26(b)”); Fed. R. Civ. P. 26(b)(4)

advisory committee’s note to 1970 amendment (noting that a party “can hardly hope

to build his case out of his opponent’s experts”).



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      A. Defendants and Their Litigation Consultants Do Not Need to Observe
         Dr. Longo or His Laboratory.
      Defendants concede that their litigation consultants have already reviewed Dr.

Longo’s work and concluded “that Dr. Longo is in fact finding particles of talc and

calling them ‘asbestos.’” Defs.’ Objs. at 23. Nevertheless, they claim that they need

the requested inspection to “disprove” Dr. Longo’s expert opinions. Id. At bottom,

Defendants argue that they cannot use the photomicrographs to show that Dr. Longo

allegedly misidentifies particles’ color in his PLM analyses.

      Their objection brief, however, tells a different story. Defendants repeatedly

admit that the photomicrographs provide all the information they need to “disprove”

Dr. Longo’s expert opinions. Indeed, in the brief’s introduction, Defendants

reproduce one of Dr. Longo’s photomicrographs and claim that Dr. Longo “calls the

particle . . . purple . . . even though it is plainly yellow.” Defs.’ Objs. at 2 (emphasis

added). Based on this photomicrograph alone, Defendants claim to unequivocally

know that “Dr. Longo is not accurately reporting the color of the particles he

examines.” Id.

      Elsewhere, they admit that “everyone can clearly see with their own two eyes”

that Dr. Longo’s “pictures of alleged chrysotile asbestos particles still appear

yellow,” again undermining their argument that they can only attack Dr. Longo and

his opinions if their experts watch him work. Id. at 4 (emphasis added). In fact, if

“everyone can clearly see with their own two eyes” that Dr. Longo supposedly

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misidentified particles’ color, id., then Defendants should not even need expert

testimony, let alone their unprecedented inspection. See In re Lincoln Nat’l 2017

COI Rate Litig., 620 F. Supp. 3d 268, 284 (E.D. Pa. 2022) (“An expert may not

simply regurgitate evidence the jury can interpret for themselves[.]”).

      The examples go on. No fewer than nine times, Defendants refer to the

photomicrographs’ clarity or the allegedly inescapable conclusions that anyone can

draw from them without needing to watch Dr. Longo work or look down his

microscope:

      • “Dr. Longo . . . insists that the clearly yellow particles are purple on
        cross examination.” Defs.’ Objs. at 4 (emphasis added).

      • Describing photograph as “plainly yellow.” Id. at 7 (emphasis
        added).

      • Concluding, based on photomicrographs, that “Dr. Longo’s lab
        incorrectly reports the colors of the particles.” Id. at 12.

      • Quoting testimony from a “[f]requent plaintiffs’ expert” that the
        “photos Dr. Longo claims [are] chrysotile” show the “edge of talc
        plates.” Id. at 15.

      • Claiming that Dr. Longo identified a chrysotile particle as magenta
        “when it was clearly not magenta.” Id. at 17 (emphasis added).

      • Referring to the alleged “fact the particles [Dr. Longo] is calling
        purple are clearly yellow.” Id. at 26 (emphasis added).

      • Claiming that Dr. Longo looks “at particles that everyone with their
        own two eyes can see are yellow yet claim[s] they are, in fact,
        purple.” Id. at 29 (emphasis added).


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By belaboring this point, Defendants undermine their objections and demonstrate

that they can make their case to the jury without their baseless, unprecedented

inspection request.

      Defendants’ litigation consultants’ ability to produce “comprehensive” reports

relying on nothing more than the information they already have, including the

photomicrographs, further demonstrates the disingenuity of Defendants’ claimed

need for the inspection. Special Master Order No. 24 at 7. As the Special Master

observed, these reports “do not mention anything about needing an inspection to

evaluate Longo’s work.” Id. Rather, they “evaluat[e] and critique[e] Longo’s

conclusions” simply by “review[ing] photomicrographs.” Id.; see also Wylie Report

at 1, Ex D; Su Report at 3, 7-9, Ex. E. Defendants’ litigation experts could not have

reached these conclusions “[i]f an inspection of Longo’s lab was critical or necessary

to defendants’ defense.” Special Master Order No. 24 at 7. Simply put, “Defendants’

experts have had no problem drawing conclusions from Dr. Longo’s reports,

including the photomicrographs of the samples used in these reports. Defendants

therefore have no need to inspect Dr. Longo’s laboratory or require Dr. Longo and

MAS technicians [to] repeat their PLM analysis.” Id. at 8 (quoting Pls.’ June 7, 2024

Letter Brief at 2).

      Defendants confirm that they seek the inspection not to obtain new

information but simply to harass Dr. Longo and his colleagues by admitting that the

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inspection will not change any of their litigation consultants’ opinions. Defs.’ Objs.

at 28 (complaining that they do not know how Dr. Longo will respond once their

litigation consultants inevitably “disprove Dr. Longo’s current justification for his

testing” by looking “down his microscope”).8 This admission confirms the Special

Master’s conclusion that the Defendants seek “irrelevant information” simply to

“unduly annoy[], oppress[], and burden[]” Dr. Longo and his team. Special Master

Order No. 24 at 4.

      Because Defendants cannot credibly claim to need the inspection to rebut Dr.

Longo’s opinions or formulate their own, they argue that they need the inspection to

rebut Dr. Longo’s rebuttal to their litigation experts’ rebuttal of his opinions. But

nothing in the Federal Rules of Civil Procedure permit the highly burdensome

rebuttal-to the rebuttal-to the rebuttal discovery that Defendants seek here. Indeed,

allowing such testimony would create an endless discovery loop by permitting



8
  Even if Defendants could perform their requested inspection, they could not
contemporaneously question Dr. Longo or his employees to ascertain their response
to the inspection because such interviews lack “‘the safeguards of true depositions’”
and “are suspect.” Nat’l Mfg., 2013 WL 12470870, at *3 (quoting Belcher, 588 F.2d
at 910) (“Courts have held that Rule 34 does not confer on the requesting party the
right to informally interview any individual present at the time of the inspection.”).
Defendants have had full opportunity—over two days—to depose Dr. Longo in this
case, and over many days in deposition and at trial in other cases, regarding the same
analyses. To further question him, they must use the “normal methods of deposing
witnesses” with all the “critical but burdensome procedure mandated under Rule
30.” Id. (first quoting Belcher, 588 F.2d at 910; then quoting United States v. Virgin
Islands, 280 F.R.D. 232, 237 (D.V.I. 2012)).
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litigants to seek new discovery simply because they do not like an expert’s cross

examination responses. Discovery does not work that way, however, as

demonstrated by the absence of authority supporting Defendants’ position.

      Finally, Defendants’ perfunctory argument that deposing Dr. Longo’s analyst,

Paul Hess, “is not sufficient to allow Defendants the opportunity to test Dr. Longo’s

critical opinions in this matter” misses the mark. Defs.’ Obj. at 28. As an initial

matter, Defendants have, in fact, tested Dr. Longo’s opinions when they deposed him

across two days in this case, and cross-examined him over many days in deposition

and at trial in other cases on the same analyses. See Special Master Order No. 24 at

8 (“Not only did defendants depose Longo for two days in this MDL, but they have

thousands of pages of testimony from Longo’s past depositions and trial

testimony.”). They have also received the data underpinning Dr. Longo’s opinions

in his expert report. Accordingly, their assertion that “[n]ormally, a party is entitled

to both the data that underlies an opposing expert’s opinion . . . and a deposition of

the expert who performed the relevant analysis stemming from that data” merely

highlights that Plaintiffs owe them nothing more. Defs.’ Objs. at 28. As the Special

Master put it, “Defendants cannot be heard to argue that they do not have a complete

record to challenge Longo’s conclusions.” Special Master Order No. 24 at 8 (finding

“that the requested inspection is disproportionate to the needs of the case”).




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      If Defendants wish to challenge Dr. Longo’s credibility or identification of

asbestos because their litigation consultants disagree about the determination of a

particles’ refractive index or color in photomicrographs, then they should make that

argument to the jury. See In re TMI Litig., 193 F.3d 613, 665 (3d Cir. 1999) (holding

that “it is for the trier of fact to determine the credibility of the expert witness”);

Dzielak v. Whirlpool Corp., No. 2:12-89, 2017 WL 1034197, at *26 (D.N.J. Mar. 17,

2017) (“What is presented here is a classic battle of the experts over disputed facts,

to be settled by the finder of fact[.]”); In re Gabapentin Pat. Litig., No. 00-2931,

2011 WL 12516763, at *10 (D.N.J. Apr. 8, 2011) (concluding that the jury must

resolve “a battle of the experts”); Broe v. Manns, No. 3:15cv985, 2016 WL 7048988,

at *4 (M.D. Pa. Dec. 5, 2016) (concluding that disagreements with an expert “can

be dealt with through cross-examination, presentation of contrary evidence and

proper jury instructions”).9

      In short, no reason exists for Defendants to require Dr. Longo to repeat his

PLM analyses while their litigation experts observe. Those experts have already

formulated opinions and issued reports based on the information they already have,

including photomicrographs so clear that anyone can interpret them with their own



9
  See generally Omnibus Order on Mots. Exclude Expert Ops. at 47, 52, In re Zantac
(Ranitidine) Litig., No. N22C-09-101 ZAN (Del. Super. Ct. June 3, 2024), Ex. F
(recognizing “the distinct roles of the Court as gatekeeper and that of the jury as the
ultimate fact finder” and leaving “expert battles” for the jury to resolve).
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eyes. And Defendants concede that the unprecedented inspection they request will

not change those opinions. If Defendants want to challenge Dr. Longo’s conclusions

concerning the testing he has already done, they can do so before the jury.

      B. Defendants Request an Unduly Burdensome Inspection.
      The Court should also overrule Defendants’ objections to the Special Master’s

Order because the requested inspection will unduly burden Dr. Longo and MAS.

Defendants seek to, over the course of days, enter Dr. Longo’s laboratory to watch

him and MAS technicians repeat PLM analyses they have already done and have no

intention of doing again. The preparation (up to 72 hours) and analysis of one sample

(two to four hours) can take days. See Fourth Suppl. MDL Report at 11; Longo MDL

Dep., May 2, 2024, at 148. This would shut down MAS’s operations for the

inspection’s duration and displace and impinge on its scientists’ and technicians’

work. As the Special Master observed, “the logistics of setting up and actually

conducting defendants’ requested tests will undoubtedly be time consuming,

intrusive, and disruptive.” Special Master Order No. 24 at 5-6.

      Moreover, MAS conducts confidential and proprietary testing of many types

for litigants in other cases, for non-litigation clients, and for governmental entities,

including pharmaceutical testing, chemical analysis, children’s product testing, VOC

emissions,    environmental     testing,   and    materials    failure   testing.   See

www.mastest.com (accessed July 17, 2024). The work product privilege covers the


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litigation work. MAS cannot, therefore, conduct the testing in this case when “testing

would otherwise be occurring as part of [MAS’s] regular lab activities” as

Defendants’ suggest. Defs.’ Objs. at 35. Instead, MAS would need to cover or move

other litigants’ and clients’ confidential, proprietary, and privileged information.

        Of course, the intrusion of having a defense expert looking over the shoulder

of Dr. Longo or another MAS scientist while they examine a sample under the

microscope would also be unduly intrusive and stressful. Simply put, “[i]t is

unreasonable to require MAS to accommodate defendants’ experts and counsel at its

laboratory when the requested inspection is irrelevant and unnecessary.” Special

Master Order No. 24 at 7.10

     III.   Defendants Attempt to Distract the Court with Irrelevant Information
            and Improper Daubert Arguments.

        Defendants implicitly acknowledge the weakness of their inspection request

by attempting to distract the Court with information and arguments that have no

bearing on this discovery dispute. For example, Defendants spill considerable ink

describing Dr. Longo’s prior testing methods before admitting—repeatedly—that



10
  Defendants’ complaint that Plaintiffs “submitted no evidence whatsoever that the
inspection of Dr. Longo’s lab would be unduly burdensome” lacks merit. Plaintiffs
explained—with citations to a report, deposition, and website, i.e. evidence—the
many burdens that Defendants’ unprecedented and facially overbroad inspection
would impose on Dr. Longo and MAS, which more than suffices. See Mackey v. IBP,
Inc., 167 F.R.D. 186, 197 (D. Kan. 1996) (“A party resisting facially overbroad or
unduly burdensome discovery need not provide specific, detailed support.”).
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whether “Dr. Longo used a different methodology in the past is of no moment to this

motion.” Defs.’ Objs. at 7; see also id. at 28 (“That Dr. Longo may have used a

different methodology in the past is of no moment.”). Defendants’ recurrent

reference to this irrelevant information makes even less sense given their

acknowledgment that Dr. Longo has “resolved” many of Defendants’ prior

complaints about his methodology. Id. at 3-4. Because this information “is of no

moment to this motion,” the Court can and should ignore it. Id. at 7.11

      The Court should also reject Defendants’ attempt to improperly inject

irrelevant and distracting arguments about “the admissibility of Longo’s testimony

under Daubert and Rule 702” because they “are not appropriate at this juncture.”

Special Master Order No. 24 at 8.12 Defendants can make arguments about the

reliability of Dr. Longo’s methodology and conclusions in its Daubert briefing, not

in discovery motion practice. Defs.’ Objs. at 33. As the court in one of the cases cited


11
   The Special Master appeared to address this issue simply because Defendants
repeatedly raised it. See Special Master Order No. 24 at 5-6 (summarizing
Defendants’ arguments about Dr. Longo’s methodological changes). The Special
Master’s decision to entertain this argument does not obligate the Court to do so. See
Valeant Pharms. Int’l, Inc. v. AIG Ins. Co. of Canada, 625 F. Supp. 3d 309, 345 &
n.18 (D.N.J. 2022) (reiterating that it “did not consider” information of which the
Special Master took judicial notice).
12
   Defendants’ reference to prior exclusions of Dr. Longo’s testimony, including in
two other cases decided many years ago, have even less bearing on this discovery
motion. Defs. Objs. at 9. Indeed, they would not even be relevant to a Daubert
motion. See Rearden LLC v. Walt Disney Co., No. 17cv4006, 2023 WL 6796017, at
*3 (N.D. Cal. Oct. 13, 2023) (refusing to consider “prior exclusions in determining
whether [an expert’s] testimony is admissible”).
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by Defendants explained: “It is premature during the discovery stage to make what

is essentially an evidentiary ruling.” Ostrander, 119 F.R.D. at 420.

      In any event, Defendants’ argument that Dr. Longo must either submit to their

unprecedented and legally unsupported inspection or face exclusion flies in the face

of the Federal Rules of Civil Procedure.13 Nothing in Rule 37 entitles the party that

loses a motion to compel to any relief, let alone relief far greater than what they

would have obtained had they won the motion. In fact, Rule 37 does quite the

opposite—it entitles the winning party, i.e., Plaintiffs, to relief, namely costs,

attorneys’ fees, and a protective order. See Fed. R. Civ. P. 37(a)(5)(B). Plaintiffs urge

the Court to see through Defendants’ diversionary tactics and identify their motion

for what it is—unjustified harassment.

                                   CONCLUSION

      For these reasons, the Court should overrule Defendants’ objections to the

Special Master’s Order denying their motion to compel inspection of Dr. William

Longo’s laboratory and grant any other relief it deems proper, including Plaintiffs’

costs and attorneys’ fees incurred in opposing the motion.




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   Although arguments about the admissibility of Dr. Longo’s opinions “are not
appropriate at this juncture,” Special Master Order No. 24 at 8, Plaintiffs note that
nothing in Federal Rule of Evidence 702 makes the admissibility of an expert’s
opinions dependent on him submitting to the opposing party’s harassing discovery
tactics.
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Dated: July 22, 2024             Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 22, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive services

in this MDL.

                                       Respectfully submitted,

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